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UNITED STATES NIST.

CENTRAL DISTRICT OF RiGee

United States of America 2:18-mj-0988-PAL
Plaintiff(s) .
crR Q7-01268

Vv.

ALFONSO BERNAL BARRON WARRANT FOR ARREST
Defendant(s)

 

 

TO: UNITED STATES MARSHAL AND ANY AUTHORIZED UNITED STATES OFFICER

YOU ARE HEREBY COMMANDED to arrest

ALFONSO BERNAL BARRON

and bring him/her forthwith to the nearest Magistrate Judge to answer a(n): OComplaint MiIndictment
Oinformation OOrder of Court OProbation Violation Petition OViolation Notice
charging him/her with: @NTER DESCRIPTION OF OFFENSE BELOW)

Conspiracy to Possess with Intent to Distribute and to Distribute Cocaine

Possession with Intent to Distribute Cocaine

in violation of Title 21: United States Code, Section(s) 846:841(a)(1), (b)(1)(B):

Sherri R. Carter
NAME OF ISSUING OFFICER

   

 

November 14, 2007 LOS ANGELES, CALIFORNIA
DATE AND LOCATION OF ISSUANCE

sy:__ VICTOR B. KENTON

 

 

TRILL |

   

 

 

 

 

 

NAME OF JUDICIAL OFFICER
ATURE OF DEPU Woke]
TURN
NAMED DEFENDANT AT (LOCATION):
DATE RECEIVED __NAME OF ARRESTING OFFICER
DATE OF ARREST TITLE

DESCRIPTIVE INFORMATION FOR DEFENDANT
CONTAINED ON PAGE TWO

 

SIGNATURE OF ARRESTING OFFICER

WARRANT FOR ARREST

CR-12 (07/04)

PAGE 1 OF 2

 
Case 2:18-mj-00988-PAL Document 8 Filed 01/02/19 Page 2 of 21

UNITED STATES DISTRICT COURT

. CENTRAL DISTRICT OF CALIFORNIA
CASE SUMMARY

2:18-mj-0988-PAL
Case Number U/ = U L CL 6 8

U.S.A. v. ALFONSO BERNAL BARRON
Indictment Cl] Information

OFFENSE/VENUE
a. Offense charged as a: CO Petty Offense
(Misdemeanor [] Minor Offense Felony

b. Date of offense 8/7/06-7/11/07, 8/16/07-8/29/07, 11/07

c. County in which first offense occurred
Los Angeles
d. The crimes charged are alleged to have been committed in:
CHECK ALL THAT APPLY

Wf Los Angeles 0 Ventura

0 Orange O Santa Barbara
O Riverside 0 San Luis Obispo
0 San Bernardino C] Other

Citation of offense 21 U.S.C. 846, 21 U.S.C. 841(a)(1),
(b)(1)(A), (b)CL)CB)

RELATED CASE
Has an indictment or information involving this defendant and
the same transaction or series of transactions been previously
filed and dismissed before trial? No CO Yes
IF YES Case Number

 

Pursuant to Section 11 of General Order 224, criminal cases

may be related if a previously filed indictment or information

and the present case:

a. arise out of the same conspiracy, common scheme,
transaction, series of transactions or events; or

b, involve one or more defendants in common, and would
entail substantial duplication of labor in pretrial, trial or
sentencing proceedings if heard by difference judges.

Related case(s), if any: MUST MATCH NOTICE OF RELATED

CASE CR No. 07-522-€2.

 

PREVIOUSLY FILED COMPLAINT

A complaint was previously filed on: 10/31/07
Case Number 07-1844M
Charging 21 U.S.C. 846

 

The complaint: if is still pending
O) was dismissed on:

 

Defendant Number 8
Year of Birth _1965 So B
Tavestigative agency (FBI, DEA, etc.) DEA 2

ORIGINAL

  
  

evidence in the case-in-chief?
Wf Yes* C1No

“AN ORIGINAL AND 3 COPIES OF THE NOTICE OF COMPLEX
CASE MUST BE FILED 2 BUSINESS DAYS BEFORE THE
ARRAIGNMENT IF EITHER YES BOX IS CHECKED.

Superseding Indictment/Information
This isthe Ss superseding charge, i.e. 1%, 2™,
The superseding case was previously filed on:

 

Case Number

 

' The superseded case:

C1 is still pending before Judge/Magistrate Judge

 

C] was previously dismissed on

Are there 8 or more defendants in the superseding case?
Ci Yes* ONo

Will more than 12 days be required to present government's

evidence in the case-in-chief?
OO Yes* CO No

Was a Notice of Complex Case filed on the Indictment or

Information?
0 Yes CiNo

*AN ORIGINAL AND 3 COPIES OF THE NOTICE OF COMPLEX

CASE MUST BE FILED 2 BUSINESS DAYS BEFORE THE

ARRAIGNMENT IF EITHER YES BOX IS CHECKED,

Is an interpreter required: MYes CONo

IF YES, list language and/or dialect:

Spanish

 

CR-72 (12/05)

CASE SUMMARY

Page | of 2

 
Case 2:18-mj-00988-PAL Document 8 Filed 01/02/19 Page 3 of 21

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CASE SUMMARY

 

OTHER
LY Male O Female
US. Citizen O Alien
Alias Name(s)

 

 

This defendant is charged in: O All counts
Mf Only counts: 1.2.4
O This defendant is designated as “High Risk” per

18 USC 3146(a)(2) by the U.S. Attorney.
(1 This defendant is designated as “Special Case”
per 18 USC 3166(b)(7).
Is defendant a juvenile? O Yes No
IF YES, should matter be sealed? O Yes O1No
The area of substantive law that will be involved in this case
includes:
C1 public corruption
O tax offenses

O mail/wire fraud
C1 immigration offenses

(C1 financial institution fraud
2 government fraud

O environmental issues

& narcotics offenses

 

 

 

 

CUSTODY STATUS

Defendant is not in custody:
a. Date and time of arrest on complaint:

b. Posted bond at complaint level on:
in the amount of $

 

c. PSA supervision? 0 Yes O1No
d. Is a Fugitive i Yes O No
e. Is on bail or release from another district:

 

f. O Has not been arrested but will be notified by summons

to appear.
g. Warrant requested. i Yes ONo

Defendant is in custody:
a. Place ofincarceration: 0 State

b. Name of Institution:
c. If Federal: U.S. Marshal's Registration Number:

C1] Federal

 

 

d. O Solely on this charge. Date and time of arrest:

 

 

 

 

. . . On another conviction: Yes ONo
O violent crimes/firearms Cl corporate fraud .
g Other. " “pores mm IF YES CO State C Federal C] Writ of Issue
_ f. Awaiting trial on other charges: 1 Yes ONo
IF YES L State DO Federal AND
Name of Court:
Date transferred to federal custody:
This person/proceeding is transferred from another district
pursuant to F.R.CrP. 20 21 400
EXCLUDABLE TIME

 

Determinations as to excludable time prior to filing indictment/information EXPLAIN:

 

 

 

 

 

Date November 13, 2007

 

BONNIE L. HOBBS
Print Name

 

CR-72 (12/05) CASE SUMMARY Page 2 of 2

 
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Case 2:18-mj-00988-PAL Document 8 Filed 01/02/19 Page 4 of 21
case 2:07-cr-01268-ODW Document 62 Filed 11/14/07 Page 10f18 Page ID #:154

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Bh: Wd i jon Ld

"ALVES

UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA
February 2007 Grand Jury 2:18-mj-0988-PAL

cR No. 07-97 .01268

INDICIMENT

UNITED STATES OF AMERICA,
Plaintiff,
Vv. ) [21 U.S.C. § 846; Conspiracy
) to Possess with Intent to
ALI KHALIL ELREDA, ) Distribute and to Distribute
EPIFANIO MERCADO, ) Cocaine; 21 U.S.C.
ROBERT BELL, ) §§ 841(a) (1), (b) (1) (A),
RICARDO NAVA, ) (b) (1) (B): Possession with
JUAN JOSE GALINDO, ) Intent to Distribute Cocaine;
JUAN MANUEL GONZALEZ, ) 21 U.S.C. §§ 841 {a) (1),
FRANCISCO HIGUERA, JR., ) (b) (1) (A): Possession with
ALFONSO BERNAL BARRON, and ) Intent to Distribute
DALISA JOHNSON, Methamphetamine]
)
)

Defendants.

 

The Grand Jury charges:
COUNT ONE
[21 U.S.C. § 846]
A. OBJECTS OF THE CONSPIRACY
Beginning on or about August 7, 2006, and continuing to at
least July 11, 2007, in Los Angeles County, within the Central
District of California, and elsewhere, defendants ALI KHALIL

ELREDA (“ELREDA”), EPIFANIO MERCADO (“MERCADO”), ROBERT BELL

 

 

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Case 2:18-mj-00988-PAL Document 8 Filed 01/02/19 Page 5 of 21
Case 2:07-cr-01268-ODW Document 62 Filed 11/14/07 Page 2of18 Page ID #:155

(“BELL”), RICARDO NAVA (“NAVA”), JUAN JOSE GALINDO (“GALINDO”),
JUAN MANUEL GONZALEZ (“GONZALEZ”), FRANCISCO HIGUERA, JR.
(“HIGUERA”), and DALISA JOHNSON (“JOHNSON”), and others known and
unknown to the Grand Jury, conspired and agreed with each other
to knowingly and intentionally

(a) possess with intent to distribute and

(b) distribute
more than 5 kilograms of cocaine, a Schedule II narcotic drug
controlled substance, in violation of Title 21, United States
Code, Section 841 {a) (1).

B. MEANS BY WHICH THE OBJECTS OF THE CONSPIRACY WERE TO BE

ACCOMPLISHED

The objects of the conspiracy were to be accomplished in
substance as follows:

1. Defendant ELREDA would introduce defendant MERCADO to
defendant BELL for the purpose of negotiating the sale of
multiple kilograms of cocaine by defendant MERCADO to defendant
BELL.

2. Defendant MERCADO would supply defendant BELL with
multiple kilograms of cocaine, which defendant BELL would sell to
his drug customers.

3. Defendant NAVA would transport multiple kilograms of
cocaine for defendant MERCADO.

4. Defendants GALINDO, GONZALEZ, and HIGUERA also would
supply multiple kilograms of cocaine to defendant BELL, which
defendant BELL would sell to his drug customers.

5. Defendant JOHNSON would assist defendant BELL in his

purchase of multiple kilograms of cocaine from defendant MERCADO

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Case 2:18-mj-00988-PAL Document 8 Filed 01/02/19 Page 6 of 21
(Case 2:07-cr-01268-ODW Document 62 Filed 11/14/07 Page 3of18 Page ID #:156

by conducting counter-surveillance for defendant BELL and
defendant NAVA.
Cc. OVERT ACTS

 

In furtherance of the conspiracy and to accomplish the
objects of the conspiracy, defendants, and others known and
unknown to the Grand Jury, committed various overt acts on or
about the following dates, within the Central District of
California and elsewhere, including but not limited to the
following:

1. On August 7, 2006, in a telephone conversation and
using coded language, defendant ELREDA told defendant MERCADO
that defendant ELREDA would take money from defendant BELL, and
defendant ELREDA would call defendant MERCADO so that defendant
MERCADO could pick it up the next day.

2. On August 7, 2006, ina telephone conversation and
using coded language, defendant ELREDA told defendant MERCADO
that defendant BELL wanted five kilograms of cocaine, that
defendant MERCADO eventually would deliver ten or fifteen
kilograms of cocaine to defendant BELL, and that defendant
MERCADO could deliver the cocaine to defendant BELL on defendant
ELREDA’s behalf.

3. On August 7, 2006, in a telephone conversation and
using coded language, defendant ELREDA asked defendant BELL how
much cocaine defendant BELL needed, and defendant BELL told
defendant ELREDA that defendant BELL wanted five kilograms of
cocaine.

4. On August 7, 2006, in a telephone conversation and

using coded language, defendant ELREDA told defendant MERCADO

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Case 2:18-mj-00988-PAL Document 8 Filed 01/02/19 Page 7 of 21

[Case 2:07-cr-01268-ODW Document 62 Filed 11/14/07 Page 4of18 Page ID #:157

that defendant BELL wanted five kilograms of cocaine that day,
and that defendant BELL would want up to fifteen kilograms of
cocaine at later times.

5. On August 7, 2006, in telephone conversations and
using coded language, defendant ELREDA asked defendant MERCADO
what the price for the cocaine would be if defendant BELL paid
defendant MERCADO for the cocaine today, and defendant MERCADO
answered $12,300 per kilogram.

6. On August 7, 2006, in a telephone conversation and
using coded language, defendant ELREDA told defendant BELL to
drop $100 off the price of each kilogram of cocaine.

7. On August 7, 2006, in a telephone conversation and
using coded language, defendant BELL told defendant ELREDA
that if the cocaine was good, defendant BELL would buy ten
kilograms of cocaine from defendant MERCADO.

8. On August 7, 2006, in a telephone conversation and
using coded language, defendant ELREDA told defendant MERCADO
that if the cocaine was good, defendant BELL would pay for ten
kilograms of cocaine right now, and defendant MERCADO said that
he would call defendant ELREDA to tell defendant ELREDA that the
cocaine was ready.

9. On August 15, 2006, in a telephone conversation and
using coded language, defendant ELREDA and defendant MERCADO
discussed defendant MERCADO continuing to sell high quality
cocaine to defendant BELL.

10. On August 24, 2006, in a telephone conversation and
using coded language, defendant ELREDA and defendant BELL
discussed the price that defendant MERCADO charged defendant BELL

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Case 2:18-mj-00988-PAL Document 8 Filed 01/02/19 Page 8 of 21
Case 2:07-cr-01268-ODW Document 62 Filed 11/14/07 Page5of18 Page ID #:158

for kilograms of cocaine.

11. On October 5, 2006, ina telephone conversation
and using coded language, defendant ELREDA and defendant BELL
discussed defendant BELL continuing to conduct cocaine
transactions with defendant MERCADO,

12. On October 31, 2006, in a telephone conversation and
using coded language, defendant BELL told defendant MERCADO that
a drug customer in Tennessee was going to pay $15,500 per
kilogram of cocaine.

13. On October 31, 2006, ina telephone conversation and
using coded language, defendant BELL told defendant MERCADO that
defendant BELL was selling twenty to twenty-five kilograms of
cocaine per week, and that defendant BELL was waiting on someone
who wanted to purchase another ten kilograms.

14. On October 31, 2006, in a telephone conversation and
using coded language, defendant MERCADO told defendant BELL that
defendant MERCADO would be out of town, and that his cousin,
defendant NAVA, would be available the next day to deliver eight
kilograms of cocaine that defendant MERCADO had, and that if
defendant BELL wanted them, he would sell them all to defendant
BELL.

15. On November 1, 2006, in a telephone conversation and
using coded language, defendant NAVA told defendant BELL that
defendant NAVA had eight kilograms of cocaine.

16. On November 1, 2006, in telephone conversations and
using coded language, defendant BELL and defendant NAVA discussed
the location for their drug deal and the presence of a police

car.

 

 
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Case 2:18-mj-00988-PAL ,Document 8 Filed 01/02/19 Page 9 of 21
Case 2:07-cr-01268-ODW Document 62 Filed 11/14/07 Page 6of18 Page ID #:159

17. On November 1, 2006, in a telephone conversation and
using coded language, defendant JOHNSON told defendant BELL that
She did not think that defendant NAVA should come into the
parking lot because of the police.

18. On November 1, 2006, defendant BELL, driving a gold
Toyota Camry, and defendant NAVA, driving a white Toyota Camry
that contained eight kilograms of cocaine, entered the parking
lot of a Staples store in Bellflower, California, where both of
them parked their cars.

19. On November 1, 2006, defendant BELL got out of his car
and entered defendant NAVA’s car with the eight kilograms of
cocaine,

20. On November 1, 2006, defendant NAVA left the parking
lot in his white Toyota Camry, after which the eight kilograms of
cocaine was seized by law enforcement officers in Bellflower,
Caiifornia.

21. On November 1, 2006, in a telephone conversation and
using coded language, defendant ELREDA asked defendant BELL if
the police were holding the cocaine that defendant NAVA had had
in his car, and defendant BELL said yes.

22. On November i, 2006, ina telephone conversation and
using coded language, defendant ELREDA told defendant BELL that
defendant MERCADO had told defendant ELREDA that defendant
MERCADO had eight or ten kilograms of cocaine left and wanted to
get rid of them.

23. On November 1, 2006, in a telephone conversation and
using coded language, defendant BELL told defendant ELREDA that
defendant NAVA had called defendant MERCADO and had told

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Case 2:18-mj-00988-PAL Document 8 Filed 01/02/19 Page 10 of 21.
case 2:07-cr-01268-ODW Document 62 Filed 11/14/07 Page 7of18 Page ID #:160

defendant MERCADO to call defendant BELL to get rid of defendant
MERCADO’s remaining eight or ten kilograms of cocaine.

24. On November 1, 2006, ina telephone conversation and
using coded language, defendant MERCADO told an associate of
defendant ELREDA that defendant MERCADO would kill defendant
ELREDA’s associate if he did not give defendant MERCADO defendant
ELREDA’s telephone number.

25. On November 1, 2006, in a telephone conversation and
using coded language, defendant ELREDA told defendant MERCADO
that defendant NAVA had been arrested, and gave defendant MERCADO
defendant BELL’s telephone number because defendant BELL had seen
everything.

26. On November 1, 2006, in a telephone conversation and
using coded language, defendant ELREDA told defendant BELL that
defendant MERCADO was looking for defendant BELL, and that
defendant MERCADO would rip off defendant BELL if the police came
after defendant MERCADO.

27. On November 4, 2006, in a telephone conversation and
using coded language, defendant ELREDA asked defendant BELL the
price for one kilogram of cocaine, and defendant BELL said
$13,000 per kilogram, but that defendant ELREDA should charge
defendant ELREDA’s drug customer $13,500 per kilogram.

28. On November 4, 2006, in a telephone conversation and
using coded language, defendant ELREDA informed his drug
customer that the price for one kilogram of cocaine was $14,000,
and that defendant BELL was providing a sample of cocaine to show
to the drug customer.

29. On November 29, 2006, defendants BELL and MERCADO

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Case 2: 18- mj-00988-PAL Document 8 Filed 01/02/19 Page 11 of 21
Case 2:07-cr-01268-ODW Document 62 Filed 11/14/07 Page 8of18 Page ID #:161

traveled with others from Los Angeles, California, to Nashville,
Tennessee for purposes of a drug deal.

30. On December 1, 2006, defendant BELL took possession
of approximately one kilogram of cocaine, $302,190 in United
States currency, and miscellaneous drug packaging materials at
2211 Ladd Street, Clarksville, Tennessee, which subsequently was
seized by law enforcement officers.

31. On December 3, 2006, in telephone conversations and
using coded language, defendant ELREDA and defendant BELL
discussed the police seizing the cocaine from defendant NAVA.

32. On December 3, 2006, in telephone conversations and
using coded language, defendant ELREDA told defendant BELL that
defendant ELREDA may not want to do business with defendant BELL
any more, because defendant BELL may be watched by law
enforcement, and defendant ELREDA told defendant BELL to talk to
defendant MERCADO.

33. On December 9, 2006, an unindicted co-conspirator
transported approximately twenty kilograms of cocaine in
Wabaunsee County, Kansas, in his truck.

34. On December 16, 2006, ina telephone conversation and
using coded language, defendant MERCADO asked defendant GONZALEZ
if defendant GONZALEZ had spoken to defendant BELL.

35. On December 16, 2006, in a telephone conversation and
using coded language, defendant GONZALEZ told defendant MERCADO
that defendant GONZALEZ had not spoken much to defendant BELL,
but that defendant GALINDO spoke to defendant BELL more because
GALINDO could provide forty to eighty kilograms of cocaine to

defendant BELL at a time.

 

 
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Case 2:18-mj-00988-PAL Document 8 Filed 01/02/19 Page 12 of 21
Case 2:07-cr-01268-ODW Document 62 Filed 11/14/07 Page 9of18 Page ID #:162

36. On December 16, 2006, ina telephone conversation and
using coded language, defendant GONZALEZ told defendant MERCADO
that defendant GONZALEZ had provided twenty kilograms of cocaine
to defendant BELL before.

37. On December 27, 2006, ina telephone conversation and
using coded language, defendant ELREDA asked a source for
kilograms of cocaine, because defendant ELREDA had a guy who
wanted a couple of kilograms right now, and the source said he
would check.

38. On December 27, 2006, ina telephone conversation and
using coded language, defendant ELREDA told the source for
cocaine, at the direction of defendant BELL, that he wanted
twenty kilograms of cocaine right now.

39. On February 1, 2007, ina telephone conversation and
using coded language, defendant BELL told defendant GONZALEZ that
defendant BELL needed thirteen kilograms of cocaine, and
defendant GONZALEZ said he would call to see if he could get it.

40. On February 1, 2007, in a telephone conversation and
using coded language, defendant GONZALEZ told defendant BELL that
a supplier had ten kilograms of cocaine and defendant GONZALEZ
had two kilograms of cocaine.

41. On February 1, 2007, in a telephone conversation and
using coded language, defendant GONZALEZ asked defendant BELL if
they were going to meet at a restaurant.

42. On February 1, 2007, defendant GONZALEZ transported
$95,000 in United States currency in the trunk of his Mercedes-
Benz in Compton, California, which currency was subsequently

seized by law enforcement officers.

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Case 2:18-mj-00988-PAL Document 8 Filed 01/02/19 Page 13 of 21
Case 2:07-cr-01268-ODW Document 62 Filed 11/14/07 Page 10 of 18 Page ID #:163

43. On February 2, 2007, in a telephone conversation and
using coded language, defendant GONZALEZ told defendant BELL how
the Los Angeles County Sheriffs followed defendant GONZALEZ and
took the money.

44. On February 22, 2007, in a telephone conversation
and using coded language, defendant MERCADO told defendant
ELREDA that defendant BELL had alerted law enforcement that
defendant NAVA and the unindicted co-conspirator had been
transporting cocaine in their vehicles.

45. On March 30, 2007, defendant GALINDO maintained
possession, at his residence in Maywood, California, of
approximately 300 grams of cocaine, approximately $74,227 in
United States currency, a Royal Sovereign Cash Counting Machine,
a calculator, and miscellaneous materials for packaging kilograms
of cocaine.

46. On April 2, 2007, in a telephone’ conversation and using
coded language, defendant BELL told an unindicted co-conspirator
that defendant GALINDO had been busted by the police for cocaine
and narcotics proceeds possession, and that defendant GONZALEZ
had been put in jail after being caught with money .

47. On April 4, 2007, in a telephone conversation and using
coded language, defendant BELL asked defendant ELREDA if someone
could supply defendant BELL with cocaine, and defendant ELREDA
said that he had been making telephone calls, but there was no
one available.

48. On April 11, 2007, in a telephone conversation and
using coded language, defendant BELL told defendant ELREDA that

defendant BELL wanted to purchase cocaine.

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Case 2:1,8-mj-00988-PAL Document 8 Filed 01/02/19 Page 14 of 21
Case 2:07-cr-01268-ODW Document 62 Filed 11/14/07 Page 11o0f18 Page ID #:164

49. On April 11, 2007, in a telephone conversation and
using coded language, defendant ELREDA told defendant BELL that
defendant ELREDA wanted about ten kilograms of cocaine per week
to ship to New York.

50. On April 11, 2007, in a telephone conversation and
using coded language, defendant ELREDA gave defendant BELL the
telephone number for a source of multiple kilograms of cocaine.

Sl. On April 11, 2007, in a telephone conversation and
using coded language, defendant BELL told defendant ELREDA that
the source of cocaine said that the price was $18,000 or $19,000
per kilogram in New York, but that defendant BELL’s people got
$25,000 per kilogram.

52. On June 26, 2007, in a telephone conversation and
using coded language, defendant GALINDO told defendant BELL,
that the price of a kilogram of cocaine would be $15,500, and
defendant BELL told defendant GALINDO that defendant BELL would
pass for now.

53. On June 26, 2007, in a telephone conversation and using
coded language, defendant BELL and defendant HIGUERA discussed
defendant HIGUERA supplying a kilogram of cocaine to defendant
BELL, and defendant BELL inspecting the cocaine to ensure that it
was good quality.

54. On June 27, 2007, in telephone conversations and using
coded language, defendant BELL and defendant HIGUERA discussed
defendant HIGUERA supplying additional kilograms of cocaine to
defendant BELL.

55. On June 28, 2007, in telephone conversations and using

coded language, defendant BELL and defendant HIGUERA discussed

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Case 2:18-mj-00988-PAL [bocument 8 Filed 01/02/19 Page 15 of 21 |
pase 2:07-cr-01268-ODW Document 62 Filed 11/14/07 Page 12 o0f18 Page ID #:165

defendant HIGUERA waiting to receive the additional cocaine that
he would deliver to defendant BELL.

56. On June 29, 2007, in a telephone conversation and using
coded language, defendant HIGUERA told defendant BELL that
defendant HIGUERA might be able to get two, or perhaps as many as
five, kilograms of cocaine for defendant BELL.

97. On July 10, 2007, in telephone conversations and using
coded language, defendant GALINDO and defendant BELL discussed
defendant GALINDO delivering cocaine to defendant BELL on
Thursday.

58. On July 11, 2007, in a telephone conversation and using
coded language, defendant HIGUERA told defendant BELL that the
price of cocaine would be $15,800 per kilogram, and defendant
BELL told defendant HIGUERA that defendant GALINDO provided

cocaine to defendant BELL at $14,800 per kilogram every week.

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Case 2:18-mj-00988-PAL Pocument 8 Filed 01/02/19 Page 16 of 21 .

pase 2:07-cr-01268-ODW Document 62 Filed 11/14/07 Page 13 0f18 Page ID #:166

COUNT TWO
[21 U.S.C. § 846]

A. OBJECTS OF THE CONSPIRACY

 

Beginning on or about August 16, 2007, and continuing to at
least August 29, 2007, in Los Angeles County, within the Central
District of California, and elsewhere, defendants FRANCISCO
HIGUERA, JR. (*“HIGUERA”} and ALFONSO BERNAL BARRON (“BARRON”),
and others known and unknown to the Grand Jury, conspired and
agreed with each other to knowingly and intentionally

(a) possess with intent to distribute and

(ob) distribute
more than 500 grams of cocaine, a Schedule II narcotic drug
controlled substance, in violation of Title 21, United States
Code, Section 841 (a) (1).

B. MEANS BY WHICH THE OBJECTS OF THE CONSPIRACY WERE TO BE

ACCOMPLISHED

The objects of the conspiracy were to be accomplished in
substance as follows:

1. Defendant HIGUERA would supply multiple kilograms of
cocaine to his drug customers.

2. Defendant BARRON would assist defendant HIGUERA by
transporting multiple kilograms of cocaine for defendant
HIGUERA's drug customers.

Cc. OVERT ACTS

In furtherance of the conspiracy and to accomplish the
objects of the conspiracy, defendants, and others known and
unknown to the Grand Jury, committed various overt acts on or

about the following dates, within the Central District of

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Case 2:1,8-mj-00988-PAL Pocument 8 Filed 01/02/19 Page 17 of 21,
base 2:07-cr-01268-ODW Document 62 Filed 11/14/07 Page 14 of 18 Page ID #:167,

California and elsewhere, including but not limited to the
following:

1. On June 26, 2007, in a telephone conversation and using
coded language, defendant HIGUERA and a drug customer discussed
defendant HIGUERA supplying a kilogram of cocaine to the drug
customer, and the drug customer inspecting the cocaine to ensure
that it was good quality.

2. On June 27, 2007, in telephone conversations and using
coded language, defendant HIGUERA and a drug customer discussed
defendant HIGUERA supplying additional kilograms of cocaine to
the drug customer.

3. On June 28, 2007, in telephone conversations and using
coded language, defendant HIGUERA and a drug customer discussed
defendant HIGUERA waiting to receive the additional cocaine that
he would deliver to the drug customer.

4. On June 29, 2007, in a telephone conversation and using
coded language, defendant HIGUERA told a drug customer that
defendant HIGUERA might be able to get two, or perhaps as many as
five, kilograms of cocaine for the drug customer.

5. On July 11, 2007, in a telephone conversation and using
coded language, defendant HIGUERA told a drug customer that the
price of cocaine would be $15,800 per kilogram.

6. On August 16, 2007, in telephone conversations and
using coded language, defendant HIGUERA and defendant BARRON
discussed picking up seven kilograms of cocaine from defendant
HIGUERA’s cocaine supplier.

7. On August 29, 2007, defendant BARRON, followed by

defendant HIGUERA in a separate vehicle, transported

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Case 2:48-mj-00988-PAL Document 8 Filed 01/02/19 Page 18 of 21
pase 2:07-cr-01268-ODW Document 62 Filed 11/14/07 Page 15o0f18 Page ID #:168

approximately three kilograms of cocaine in his car in Lynwood,
California, for delivery to defendant HIGUERA‘s drug customer,

which cocaine was seized by law enforcement officers.

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Case 2:48-mj-00988-PAL pocument 8 Filed 01/02/19 Page 19 of 21 .
fase 2:07-cr-01268-ODW Document 62 Filed 11/14/07 Page 16 of 18 Page ID #:169

COUNT THREE
[21 U.S.C. §§ 841(a) (1), (b) (1) (A)]

On or about November 1, 2006, in Los Angeles County, within
the Central District of California, and elsewhere, defendants
ROBERT BELL and RICARDO NAVA knowingly and intentionally
possessed with intent to distribute approximately eight kilograms

of cocaine, a Schedule II narcotic drug controlled substance.

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Case 2:48-mj-00988-PAL Document 8 Filed 01/02/19 Page 20 of 21
pase 2:07-cr-01268-ODW Document 62 Filed 11/14/07 Page 17 o0f18 Page ID #:170

COUNT FOUR
[21 U.S.C. §§ 841(a) (1), (b) (1) (B)]

On or about August 29, 2007, in Los Angeles County, within
the Central District of California, and elsewhere, defendants
FRANCISCO HIGUERA, JR. and ALFONSO BERNAL BARRON knowingly and
intentionally possessed with intent to distribute approximately
three kilograms of cocaine, a Schedule II narcotic drug

controlled substance,

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Case 2:18-mj-00988-PAL Document 8 Filed 01/02/19 Page 21 of 21 ,

pase 2:07-cr-01268-ODW Document 62 Filed 11/14/07 Page 18 o0f18 Page ID #:171

COUNT FIVE
[21 U.S.C. §§ 841 (a) (1), (b) (1) (A)]

On or about November 6, 2007, in Los Angeles County, within
the Central District of California, and elsewhere, defendant JUAN
MANUEL GONZALEZ knowingly and intentionally possessed with intent
to distribute more than five hundred grams, namely, approximately
six hundred grams, of a mixture or substance containing a
detectable amount of methamphetamine, a Schedule II controlled

substance.

A TRUE BILL

 

FOREPERSON

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